                         Case 3:19-mj-08795-RFC Document 1 Filed 10/07/19 Page 1 of 2
AO 442 (REV. 12/85)


                                                United States District Court                                                FILED

                                                       Western District of Texas                                          Oct 7 2019

                                                          El Paso Division                                         Clerk, U.S. District Court
                                                                                                                   Western District of Texas


                                                                                                             By:

                                                                                                                                       Deputy
USA                                                                      §
                                                                         § CRIMINAL COMPLAINT
vs.                                                                      § CASE NUMBER: EP:19-M -08795(1) RFC
                                                                         §
(1) ENRIQUE LOPEZ GOMEZ AKA:GOMEZ-LOPEZ,                                 §
ENRIQUE

                  I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and

belief. On or about October 05, 2019 in Hudspeth county, in the WESTERN DISTRICT OF TEXAS defendant did, being an alien to

the United States, enter, attempt to enter, and was found in the United States after having been previously excluded, deported, and

removed from the United States without receiving permission to reapply for admission to the United States from the Attorney General

of the United States and the Secretary of Homeland Security, the successor pursuant to Title 6, United States Code, Sections 202(3),

202(4), and 557



in violation of Title                  8                  United States Code, Section(s)         1326



                  I further state that I am a(n) Border Patrol Agent and that this complaint is based on the following facts: " The

DEFENDANT, Enrique LOPEZ Gomez, an alien to the United States and a citizen of Mexico was found 38 miles east of the Fort

Hancock, Texas Port of Entry, near Sierra Blanca, Texas, in the Western District of Texas. From statements "

Continued on the attached sheet and made a part of hereof.



Sworn to before me and subscribed in my presence,
                                                                                           Signature of Complainant
                                                                                           Chavez, Mario
                                                                                           Border Patrol Agent

October 7, 2019                                                                      at EL PASO, Texas
File Date                                                                               City and State




ROBERT F. CASTANEDA                                                                        ______________________________
UNITED STATES MAGISTRATE JUDGE                                                             Signature of Judicial Officer
                                                                                                     OATH TELEPHONICALLY SWORN
                                                                                                     AT 1:01 P.M.
                                                                                                     FED.R.CRIM.P.4.1(b)(2)(A)
                 Case 3:19-mj-08795-RFC Document 1 Filed 10/07/19 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:19-M -08795(1)

WESTERN DISTRICT OF TEXAS

(1) ENRIQUE LOPEZ GOMEZ AKA:GOMEZ-LOPEZ, ENRIQUE

FACTS (CONTINUED)

made by the DEFENDANT to the arresting agent, the DEFENDANT was determined to be a native and citizen of
Mexico, without immigration documents allowing him to be or remain in the United States legally. The
DEFENDANT has been previously removed from the United States to Mexico on February 08, 2018, through
Nogales, Arizona. The DEFENDANT has not received permission from the Attorney General of the United States
or the Secretary of Homeland Security to reapply for admission into the United States.

Because this Affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:

The DEFENDANT has been deported 2 time(s), the last one being to MEXICO on February 8, 2018, through
NOGALES, AZ


CRIMINAL HISTORY:

12/10/2017, CASA GRANDE, ARIZONA, 8 USC 1325 ILLEGAL ENTRY(M), CNV, 60 DAYS CONFINEMENT.
